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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK


  BLANDITE HENRICE,                         Civil Action No.:

        Plaintiff,

  vs.                                       VERIFIED COMPLAINT and
                                            DEMAND FOR JURY TRIAL
  GC SERVICES, LP, and DOES 1
  through 10, inclusive,

        Defendant.



                                Nature of the Action

         1.    This is an action for statutory damages brought by Plaintiff,

  Blandite Henrice, an individual consumer, against Defendant, GC Services,

  LP, for violations of the law, including, but not limited to, violations of the

  Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter

  ‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive,

  deceptive, and unfair practices.

                                       Parties

        2.     Plaintiff, Blandite Henrice, is a natural person with a permanent

  residence in West Hempstead, Nassau County, New York 11552.




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        3.     Upon information and belief, the Defendant, GC Services, LP,

  is a corporation engaged in the business of collecting debt in this state and in

  several other states, with its principal place of business located at 6330

  Gulfton St, Suite 300, Houston, Harris County, Texas 77081. The principal

  purpose of Defendant is the collection of debts in this state and several other

  states, and Defendant regularly attempts to collect debts alleged to be due to

  another.

        4.     Defendant is engaged in the collection of debts from consumers

  using the mail and telephone.       Defendant regularly attempts to collect

  consumer debts alleged to be due to another. Defendant is a ‘‘debt

  collector’’ as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                               Jurisdiction and Venue

        5.     Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and

  28 U.S.C. § 1337. Venue in this District is proper in that the Defendant

  transacts business here.

                                 Factual Allegations

        6.     The debt that Defendant is attempting to collect on is an alleged

  obligation of a consumer to pay money arising out of a transaction in which

  the money, property, insurance or services which are the subject of the




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  transaction are primarily for personal, family, or household purposes,

  whether or not such obligation has been reduced to judgment.

        7.     Within one (1) year preceding the date of this Complaint,

  Defendant, in connection with the collection of the alleged debt, contacted

  Plaintiff from phone number 516-204-4052 at her cell phone number 516-

  444-9563 and threatened to garnish Plaintiff’s wages.

        8.     Defendant has no standing to commence garnishment

  proceedings on behalf of the creditor.

        9.     Defendant is a debt collection company and as a debt collection

  company attempting to collect on an alleged debt, Defendant can only refer

  the matter back to the creditor with a recommendation that the original

  creditor attempt legal proceedings which could result in garnishment.

        10.    The representations made to Plaintiff by Defendant regarding

  garnishment were false.

        11.    Within one (1) year preceding the date of this Complaint and

  during the first thirty (30) days of communicating with Plaintiff, Defendant

  called Plaintiff’s cell phone 516-444-9563, in connection with the collection

  of the alleged debt, from phone number 516-204-4052 and demanded

  payment on the alleged debt without also informing Plaintiff that Plaintiff




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  could dispute the validity of the alleged debt and thereby overshadowed the

  Plaintiff’s right to dispute the validity of the debt.

        12.    The natural consequences of Defendant’s statements and

  actions were to produce an unpleasant and/or hostile situation between

  Defendant and Plaintiff.

        13.    Defendant utilized unfair and unconscionable means to collect

  on Plaintiff’s alleged debt, by lying to and misleading Plaintiff.

                               1ST CLAIM FOR RELIEF

        14.    Plaintiff repeats and realleges and incorporates by reference to

  the foregoing paragraphs.

        15.    Defendants violated the FDCPA.              Defendants’ violations

  include, but are not limited to, the following:

               (a)    Defendant violated §1692e of the FDCPA by using a

                      false, deceptive, or misleading representation or means in

                      connection with the collection of the alleged debt; and

               (b)    Defendant violated §1692e(4) of the FDCPA by giving

                      the false representation or implication that nonpayment

                      of the alleged debt will result in the garnishment of

                      wages of any person when such action is unlawful and

                      the Defendant does not intend to take such action; and


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               (c)   Defendant violated §1692e(5) of the FDCPA by

                     threatening to take action that the Defendant does not

                     intend to take and/or the Defendant cannot legally take;

                     and

               (d)   Defendant violated §1692e(10) of the FDCPA by using

                     false representation or deceptive means in connection

                     with the collection the alleged debt.


        16.    Defendant’s acts as described above were done intentionally

  with the purpose of coercing Plaintiff to pay the alleged debt.

        17.    As a result of the foregoing violations of the FDCPA,

  Defendant is liable to the Plaintiff, Blandite Henrice, for statutory damages,

  costs and attorney fees.

                              2ND CLAIM FOR RELIEF


        18.    Plaintiff repeats and realleges and incorporates by reference to

  the foregoing paragraphs.

        19.    The acts, practices and conduct engaged in by the Defendants

  and complained of herein constitute “deceptive acts and practices” within

  the meaning of Article 22A of the General Business Law of the State of New

  York, NY CLS GBL § 349.


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        20.    Defendants willfully and knowingly engaged in conduct

  constituting deceptive acts and practices in violation of NY CLS GBL § 349.

        21.    Plaintiff has suffered and continues to suffer as a result of the

  foregoing acts and practices, including damages associated with, among

  other things, humiliation, anger, anxiety, emotional distress, fear, frustration

  and embarrassment caused by Defendants.

        22.    By virtue of the foregoing, Plaintiff is entitled to injunctive

  relief enjoining Defendant from the unlawful acts and practices. NY CLS

  GBL § 349(h).

        23.    By virtue of the foregoing, Plaintiff is entitled to recover

  trebled, or fifty dollars ($50.00) whichever is greater together with

  reasonable attorney fees. NY CLS GBL § 349(h).



        WHEREFORE, Plaintiff respectfully requests that judgment be

  entered against Defendant, GC Services, LP, for the following:

        A.     Statutory damages.

        B.     Costs and reasonable attorney fees.

        C.     Awarding Plaintiff any pre-judgment and post-judgment

               interest as may be allowed under the law.




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         D.     For such other and further relief as the Court may deem just and

                proper.



                           DEMAND FOR JURY TRIAL

  PLEASE TAKE NOTICE that Plaintiff, Blandite Henrice, demands trial by

  jury in this action.


  Date: January 15, 2014
                                         RESPECTFULLY SUBMITTED,

                                         By: /s/ Shireen Hormozdi
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